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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

MIRANDA WILSON,                                    §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                  6:16-CV-484-RP
                                                   §
LIBERTY MUTUAL GROUP, INC.,                        §
                                                   §
               Defendant.                          §

                                              ORDER

        Before the Court is the parties’ Joint Motion to Dismiss with Prejudice, (Dkt. 19). The

parties have requested that the Court dismiss the case with prejudice in light of a settlement

agreement. See Fed. R. Civ. P. 41(a) (allowing an action to be dismissed by joint stipulation of all

parties).

        The parties’ joint motion to dismiss with prejudice, (Dkt. 19), is GRANTED. IT IS

ORDERED that all claims asserted in this action are hereby DISMISSED WITH PREJUDICE.

All parties are to bear their own costs and fees. The Clerk’s office is directed to CLOSE the case.

        SIGNED on December 11, 2017.




                                            _____________________________________

                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE
